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                         UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

ROBERT T. BROCKMAN                         §
                                           §
      Plaintiff(s),                        §
VS.                                        §      CIVIL ACTION NO. 4:22−cv−00202
                                           §
USA                                        §
                                           §
      Defendant.                           §


                                NOTICE OF SETTING

      A Status Conference has been set in this matter for 09:30 AM on 6/28/2022. The
hearing will be conducted using the ZoomGov.com videoconferencing program.

 Join the hearing on ZoomGov.com by clicking or copying and pasting the following link:
 https://www.zoomgov.com/j/1603321712?pwd=eEJ0aitDTExWT2g3cDhQeGVselVTdz09
                        Meeting phone number: 1−669−254−5252
                               Meeting ID: 160 332 1712
                              Meeting Password: 412286

    Parties should be prepared to discuss all pending issues before the Court. Failure to
appear may result in the case being dismissed for want of prosecution and/or sanctions as
deemed appropriate by the Court.


      Date: 6/22/2022                          Byron Thomas
                                               cm4147@txs.uscourts.gov
                                               Case Manager to
                                               U.S. District Judge George C. Hanks, Jr.
